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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA

HE DEPU, et al.,                             :
                                             :
        Plaintiffs,                          :    Civil Action No.: 1:17-0635-RDM
                                             :
v.                                           :
                                             :
OATH HOLDINGS, INC., et al.,                 :
                                             :
        Defendants.                          :



                                             ORDER

        UPON consideration of the Motion to Dismiss filed by Defendant Impresa Legal Group,

Plaintiffs’ Opposition, Impresa’s Reply, and the arguments of counsel, if any, it is hereby

        ORDERED that for the reasons argued by Impresa, its Motion to Dismiss is GRANTED;

and it is further

        ORDERED that all claims against Impresa Legal Group contained within the Third

Amended Complaint are dismissed in full and with prejudice.




So Ordered
                                                             United States District Court Judge
